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 AU 91 (Rev. 11/11) Criminal Complaint                                                                                                                     i F fl
                                                 UNITED STATES DIsTRIcT COURT                                                                           ocl- 082021
                                                                                                 for the
                                                                    Northern District of West Virginia                                       U.S. DISTRICT COURT-WVN~
                                                                                                                                               MARTINSBURG, WV 25401
                        United States of America                                                    )

                                                                                                    )       Case No.     3~ ~ ~ ,,v’C5 138
               Jonathan Toebbe and Diana Toebbe                                                    )
__________________________________________________________________________________________         )
                                    Defendant(s)


                                                                    CRIMINAL COMPLAINT
              I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
 On or about the date(s) of                           04/01/2020 10/09/2021
                                                                         -                                 in the county of         Jefferson County           in the
        Northern               District of                West Virginia                      ,   the defendant(s) violated:
                  Code Section                                                                                Offense Descr4tion
 42 USC § 2274(a)                                                 Conspiracy to Communicate Restricted Data
 42 USC § 2274(a)                                                 Communication of Restricted Data




             This criminal complaint is based on these facts:
 See attached Affidavit (incorporated by reference).




             i~f Continued on the attached sheet.

                                                                                                                       4~Ia7JL≤~+
                                                                                                                              Complainant’s signature

                                                                                                                    Justin Van Tromp, FBI Special Agent
                                                                                                                               Printed name and title

Sworn to before me and signed in my presence.


Date:                  10/08/2021
                                                                                                                                Judge s signature

City and state:                                    Martinsburg, WV                                           Robert W. Trumble, United States Magistrate Judge
                                                                                                                              Printed name and title
